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 9
10                               UNITED STATES DISTRICT COURT

11                            NORTHERN DISTRICT OF CALIFORNIA

12                                      OAKLAND DIVISION

13

14   IN RE APPLE INC. SECURITIES                   Lead Case No. 4:19-cv-02033-YGR
     LITIGATION
15                                                 DEFENDANTS’ NOTICE OF MOTION
     ______________________________________        AND MOTION FOR STAY OF
16                                                 PRODUCTION ORDERS PENDING
     This Document Relates To:                     RESOLUTION OF PETITION FOR WRIT
17                                                 OF MANDAMUS; MEMORANDUM OF
     ALL ACTIONS.                                  POINTS AND AUTHORITIES IN
18                                                 SUPPORT THEREOF

19                                                 Hearing
                                                   Date: TBD
20                                                 Time: 2:00 p.m.
                                                   Ctrm: 1, 4th Floor
21
                                                   Judge: Honorable Yvonne Gonzalez Rogers
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                                                                       DEFENDANTS’ MOTION FOR STAY
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 1                        NOTICE OF MOTION AND MOTION FOR STAY

 2          TO THE COURT, THE PARTIES, AND ALL COUNSEL OF RECORD:

 3          PLEASE TAKE NOTICE that on a date to be determined, before Judge Yvonne Gonzalez

 4   Rogers, of the United States District Court for the Northern District of California, Courtroom 1,

 5   4th Floor, 1301 Clay Street, Oakland, California, Defendants Apple Inc., Tim Cook, and Luca

 6   Maestri (“Defendants”) shall and hereby do move the Court for an order staying Defendants’

 7   obligation to produce documents as ordered in the August 3, 2022 Order Granting in Part and

 8   Denying in Part Motion to Compel issued by Magistrate Judge Joseph C. Spero (ECF No. 272),

 9   this Court’s September 12, 2022 Order on Defendants’ Motion for Relief From a Non-dispositive
10   Pretrial Order (ECF No. 302), and this Court’s September 29, 2022 Order Denying Motion to

11   Certify Interlocutory Appeal and for Stay of Production (ECF No. 312) (collectively, the

12   “production orders”), pending the Ninth Circuit’s resolution of the petition for writ of mandamus

13   filed by Defendants on September 30, 2022.

14          This motion is based on this notice of motion and motion, the accompanying

15   Memorandum of Points and Authorities, all papers and records on file in this case, oral argument,

16   and such other matters as the Court may consider.

17                                STATEMENT OF RELIEF SOUGHT

18          Defendants seek an order staying the production orders pending the Ninth Circuit’s review

19   and resolution of Defendants’ petition for writ of mandamus.
20                             STATEMENT OF ISSUE TO BE DECIDED

21          Whether the Court should grant Defendants’ request to stay the production orders pending

22   the Ninth Circuit’s review and resolution of the petition for writ of mandate because the stay of

23   this limited dispute would protect Defendants’ privilege from being lost if the communications at

24   issue were released prior to resolution of the writ proceedings, and would produce no

25   countervailing harm to Plaintiff.

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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.     INTRODUCTION

 3          Defendants seek a stay of the Court’s orders directing the production of documents

 4   Defendants contend to be privileged (ECF Nos. 272, 302, 312, the “production orders”), pending

 5   the resolution of Defendants’ petition for writ of mandamus, which was filed with the Ninth

 6   Circuit on September 30, 2022. A stay of the production orders is warranted under the relevant

 7   factors governing the issuance of a stay. The balance of hardships overwhelmingly favors a stay.

 8   The harm Defendants would suffer from complying with the production orders before the Ninth

 9   Circuit’s review can occur is significant and irreversible. By contrast, the harm to Plaintiff of
10   staying the production orders pending review is minimal to none. Similarly, the public interest

11   strongly supports a stay. And Defendants’ objections to the production orders raise serious

12   questions going to the heart of the attorney-client privilege’s application and the merits of the

13   production orders.

14          Defendants respectfully request that the Court stay the production orders.

15   II.    BACKGROUND

16          Given the Court’s familiarity with the issues, Defendants provide only a brief overview of

17   the relevant background.

18          In short, Plaintiff moved to compel several categories of documents as to which

19   Defendants asserted the attorney-client privilege. On August 3, 2022, Judge Spero issued an
20   order granting in part and denying in part Plaintiff’s motion. ECF No. 272.

21          Defendants filed a motion for relief from that order pursuant to Federal Rule of Civil

22   Procedure 72 and Civil Local Rule 72-2. Plaintiff opposed the motion. On September 12, 2022,

23   this Court denied Defendants’ motion for relief. ECF No. 302 at 3.

24          This Court ordered Defendants to produce the documents by the next business day, on

25   which Defendants filed a motion to certify an interlocutory appeal and to stay the production

26   orders. Id. Plaintiff opposed the motion. On September 29, 2022, this Court denied the motion

27   to certify an interlocutory appeal, and ordered Defendants to produce the relevant documents

28   within 24 hours of the Court’s order. ECF No. 312.
                                                                                  DEFENDANTS’ MOTION FOR STAY
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 1          On September 30, 2022, Defendants filed a petition for writ of mandamus with the Ninth

 2   Circuit, asking the Court of Appeals to direct this Court to vacate the production orders. This

 3   motion followed.

 4   III.   THIS COURT SHOULD STAY THE PRODUCTION ORDERS PENDING
            RESOLUTION OF THE WRIT PROCEEDINGS
 5
            The factors considered “in determining whether a stay pending petition for writ of
 6
     mandamus is warranted are the same as a stay pending appeal.” Powertech Tech. Inc. v. Tessera,
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     Inc., 2013 WL 1164966, at *1 (N.D. Cal. Mar. 20, 2013) (citation omitted). “A party seeking a
 8
     stay must establish that he is likely to succeed on the merits, that he is likely to suffer irreparable
 9
     harm in the absence of relief, that the balance of equities tip in his favor, and that a stay is in the
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     public interest.” Humane Soc. of U.S. v. Gutierrez, 558 F.3d 896, 896 (9th Cir. 2009). The Ninth
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     Circuit has also employed an alternative “serious questions” test, under which “‘serious questions
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     going to the merits’ and a balance of hardships that tips sharply towards the [movant] can support
13
     issuance of a preliminary injunction, so long as the [movant] also shows that there is a likelihood
14
     of irreparable injury and that the injunction is in the public interest.” All. for the Wild Rockies v.
15
     Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011). The existence of a serious legal question need not
16
     promise a certainty of success, but must present a “fair ground for litigation.” Id. at 1133 (citation
17
     omitted).
18
            A.      The Balance of Hardships Tips Sharply Towards Defendants, Who Will Suffer
19                  Irreparable Harm If They Have to Disclose Privileged Materials.
20
            Here, the balance of hardships overwhelmingly favors a stay. Defendants would suffer
21
     significant and irreversible harm from complying with the Court’s production orders before they
22
     can be reviewed by the Ninth Circuit. Once privileged documents are surrendered, privilege is
23
     forever lost. See Hernandez v. Tanninen, 604 F.3d 1095, 1101 (9th Cir. 2010); see also Senate
24
     Permanent Subcomm. on Investigations v. Ferrer, 856 F.3d 1080, 1088-89 (D.C. Cir. 2017)
25
     (finding challenge to subpoena-enforcement order moot following disclosure of privileged
26
     documents). The status quo could never be restored: The “privilege[] … would be irreparably
27
     harmed if the information in question were released prior to an appeal.” Apple Inc. v. Samsung
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                                                                                   DEFENDANTS’ MOTION FOR STAY
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 1   Elec. Co., 2015 WL 13711858, at *1 n.4 (N.D. Cal. Apr. 7, 2015) (citing Connaught Labs., Inc. v.

 2   SmithKline Beecham P.L.C., 165 F.3d 1368, 1370 (Fed. Cir. 1999)). This case presents a

 3   textbook example of irreparable injury.

 4          By contrast, there is no countervailing harm to Plaintiff. Any resulting injury of staying

 5   the production orders pending review is minimal to none. If Defendants are successful in

 6   challenging the production orders, Plaintiff will suffer no harm at all; Plaintiff simply will never

 7   receive privileged material to which it has no right. See Samsung, 2015 WL 13711858, at *1

 8   (N.D. Cal. Apr. 7, 2015). And if Defendants lose their appeal, Plaintiff’s only burden would be a

 9   slight delay1 that is more than offset by the significant harm to Defendants that could result from
10   moving forward.

11          B.      The Public Interest Favors a Stay.

12          As the Samsung court recognized, “[t]he attorney-client privilege advances ‘broader

13   public interests in the observance of law and administration of justice,’” and those broader

14   interests weigh in favor of staying the disclosure of arguably privileged materials pending review.

15   Id. at *2 (quoting Upjohn Co. v. United States, 449 U.S. 383, 389 (1981)). “The privilege

16   recognizes that sound legal advice or advocacy serves public ends and that such advice or

17   advocacy depends upon the lawyer’s being fully informed by the client.” Upjohn, 449 U.S. at

18   389. A stay preserves the sanctity of the privilege while its precise—and disputed—contours are

19   determined by the Ninth Circuit.
20          C.      Defendants Have Shown At a Minimum That Their Petition for Writ of
                    Mandamus Raises Serious Legal Questions.
21          In addition to the overwhelming balance of hardships and public interest favoring a stay,
22   Defendants’ petition for writ of mandamus at a minimum raises serious legal questions. See All.
23   for the Wild Rockies, 632 F.3d at 1135 (stay appropriate if movant shows “serious questions
24   going to the merits” and a balance of hardships that tips sharply in its favor). The Ninth Circuit
25   has left open the question of whether the attorney-client privilege protects a dual-purpose
26

27   1 This Court can exercise its inherent authority to determine the scope and duration of a stay,
     including whether to stay only the production orders or to also stay the summary judgment
28   proceedings pending the completion of the writ proceedings.
                                                                                  DEFENDANTS’ MOTION FOR STAY
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 1   communication, where obtaining or seeking legal advice was a primary purpose of the

 2   communication, but not its single primary purpose. As this Court correctly recognized, that

 3   question remains unanswered in this circuit. Order Denying Motion, ECF No. 302, at 3 (stating

 4   that the Ninth Circuit “‘left open’ whether the more expansive ‘a primary purpose’ test articulated

 5   by the D.C. Circuit … should ever be applied” (quoting Grand Jury, 23 F.4th 1088, 1090 (9th

 6   Cir. 2021)).2

 7   IV.    CONCLUSION

 8          For the foregoing reasons, Defendants respectfully request that the Court stay the

 9   production orders pending the Ninth Circuit’s resolution of Defendants’ pending petition for writ
10   of mandamus. Should the Court decline to enter such a stay, Defendants respectfully request, in

11   the alternative, that the Court enter a limited stay of the production orders to permit Defendants

12   time to seek a stay of those orders from the Ninth Circuit. See, e.g., Powertech Tech. Inc. v.

13   Tessera, Inc., 2013 WL 1164966, at *2 (N.D. Cal. Mar. 20, 2013) (denying motion to stay

14   pending petition for writ of mandamus, but temporarily staying obligation to produce disputed

15   privileged documents to allow for petitioner to first seek a stay from the Ninth Circuit).

16

17   Dated: September 30, 2022                         Respectfully submitted,
18                                                     ORRICK, HERRINGTON & SUTCLIFFE LLP
19
20                                                                    /s/ James N. Kramer
                                                                     JAMES N. KRAMER
21
                                                             Attorneys for Defendants Apple Inc.,
22                                                            Timothy Cook, and Luca Maestri

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     2 The Court’s order denying Defendants’ motion to certify reasoned that this legal question may
26   not be controlling in this case because Judge Spero’s order did not clearly state that any of the
     documents ordered produced had more than one primary purpose. ECF No. 312 at 2. However,
27   Judge Spero had no reason to make that finding given that he erroneously construed Grand Jury
     to mean that dual-purpose communications could only have one single primary purpose. See ECF
28   No. 272 at 6.
                                                                                 DEFENDANTS’ MOTION FOR STAY
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